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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 CLEVELAND BROWNS FOOTBALL                       )   CASE NO. 1:24-CV-01857
 COMPANY LLC,                                    )
                                                 )
                        Plaintiff,               )   JUDGE DAVID A. RUIZ
                                                 )
 vs.                                             )
                                                 )   Magistrate Judge
 THE CITY OF CLEVELAND,                          )   Jonathan D. Greenberg
                                                 )
                        Defendant,               )
                                                 )   Defendant’s Notice of Intent to Oppose
STATE OF OHIO,                                   )   Plaintiff’s Motion for Leave to Further Amend
                                                 )   the Complaint
                        Intervenor.              )


                     DEFENDANT CITY OF CLEVELAND’S
       NOTICE OF INTENT TO OPPOSE PLAINTIFF’S MOTION FOR LEAVE TO
                     FURTHER AMEND THE COMPLAINT


        Defendant City of Cleveland respectfully files this Notice to inform the Court that the City

of Cleveland intends to oppose Plaintiff’s Motion for Leave to Further Amend the Complaint (Doc.

30). The City of Cleveland will file its Opposition on or before April 1, 2025, pursuant to Local

Rule 7.1.




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                                      Respectfully submitted:

                                      /s/ Justin E. Herdman

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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing was filed electronically on the 20th day of

March, 2025. Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.

                                              s/ Justin E. Herdman

                                              One of the Attorneys for Defendant The City of
                                              Cleveland




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